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                                 EXHIBIT A
             Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 2 of 28 PageID #:179
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Illinois
                                                                               __________
                       Wayne Farms LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 20-5191
            John Doe and LinkedIn Corporation                                 )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                LinkedIn Corporation

                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: All documents and information relating to JOHN DOE with a fake LinkedIn profile as an employee of Wayne
           Farms LLC or Wayne Farms LLC USA, Phone, text, WhatsApp or mobile number: +1 (204) 813-6903 or +1
           (323) 486 5804; Email: patrickwaynefarms@consultant.com or patrickwaynefarms@outlook.com (see attached

  Place: Ladas & Parry, LLP, 224 S Michigan Ave, Suite 1600,                            Date and Time:
           Chicago, IL 60604                                                                                 10/14/2020 5:00 pm

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/01/2020

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   s/ David C Brezina /s
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)       plaintiff
Wayne Farms LLC                                                         , who issues or requests this subpoena, are:
David C Brezina, 224 S Michigan Ave, Ste 1600, Chicago, IL 60604, 312 427-1300 dbrezina@ladas.net

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 20-5191

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ✔
            ’ I served the subpoena by delivering a copy to the named person as follows:                             Electronic service
            by agreement on Jason Skaggs <jason@skaggsfaucette.com>
                                                                                           on (date)            10/01/2020             ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:            10/01/2020                                                                       /David C Brezina/
                                                                                                   Server’s signature

                                                                             David C Brezina, One of the Attorneys for Plaintiff
                                                                                                 Printed name and title
                                                                                              Ladas & Parry LLP
                                                                                         224 S Michigan Ave, Ste 1600
                                                                                              Chicago, IL 60604
                                                                                                (312)427-1300
                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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 4     Palo Alto, CA 94301
       Telephone:    650/617-3226
 5     Facsimile:    650/644-0200

 6     Attorneys for LINKEDIN CORPORATION

 7

 8                               UNITED STATES DISTRICT COURT
 9
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
10

11

12     WAYNE FARMS, LLC,                              Case No. 20-5191
13                        Plaintiff,                  LINKEDIN CORPORATION’S RESPONSE
                                                      AND OBJECTIONS TO SUBPOENA
14          v.                                        ISSUED BY PLAINTIFF WAYNE FARMS
                                                      LLC
15     JANE DOE AND LINKEDIN CORPORATION,
16                        Defendants.
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28
                                        RESPONSE TO SUBPOENA
     Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 9 of 28 PageID #:186



 1    PROPOUNDING PARTY:                     WAYNE FARMS LLC

 2    RESPONDING PARTY:                      LINKEDIN CORPORATION

 3                 LinkedIn Corporation (“LinkedIn”), hereby objects and responds to the subpoena
 4    (“Subpoena”) served by the attorney for Plaintiff Wayne Farms LLC(“Plaintiff”) responses and
 5    objections are based on its current understanding of the lawsuit and the Subpoena. LinkedIn reserves
 6    the right to modify or supplement its responses and objections. LinkedIn also reserves the right to
 7    make any motion with respect to the Subpoena.
 8                                           GENERAL OBJECTIONS
 9                 1.    LinkedIn objects to the Subpoena to the extent that it seeks the production of
10    information from sources that are not reasonably accessible because of undue burden or cost or
11    otherwise.
12                 2.    LinkedIn objects to the Subpoena to the extent it seeks information that is available
13    from the parties to the litigation or other sources.
14                 3.    LinkedIn objects to the Subpoena to the extent it is intended to impose any
15    obligations on any persons or entities other than LinkedIn, the sole entity named in the Subpoena,
16    including but not limited to subsidiaries or affiliates of LinkedIn.
17                 4.    LinkedIn objects to the Subpoena to the extent it requests the production of
18    information beyond the possession, custody or control of LinkedIn.
19                 5.    LinkedIn objects to the Subpoena to the extent that it seeks information protected
20    by the attorney-client privilege, the attorney work product doctrine, or any other applicable privilege
21    or protection from discovery under the California Code of Civil Procedure, the California Evidence
22    Code, the California Family Code, and/or any other applicable statutes, regulations, and common law
23    protections. LinkedIn intends to claim and hereby claims all applicable privileges and protections
24    from discovery, and, in the event that LinkedIn provides responsive documents, any mistaken or
25    inadvertent production of privileged or protected documents is not intended to, and shall not, waive
26    any of these privileges or protections. LinkedIn is not presently in a position to provide a description
27    of the nature of the information that is subject to a claim of privilege or protection. In the event the
28
                                               RESPONSE TO SUBPOENA
     Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 10 of 28 PageID #:187



 1
      Subpoena is found valid and enforceable, in whole or in part, LinkedIn will provide such a description
 2
      within a reasonable period of time.
 3
                  6.    LinkedIn objects to the Subpoena to the extent it seeks trade secrets or other
 4
      confidential research, development, or commercial information, or other proprietary information
 5
      protected from disclosure.
 6
                  7.    LinkedIn objects to the Subpoena to the extent that it seeks information that is not
 7
      reasonably calculated to lead to the discovery of admissible evidence.
 8
                  8.    LinkedIn objects to the Subpoena as overbroad and unduly burdensome.
 9
                  9.    LinkedIn objects to Subpoena to the extent it seeks to impose obligations beyond or
10
      inconsistent with those imposed by the applicable California statutes.
11
                               RESPONSES TO REQUEST FOR DOCUMENTS
12
      REQUEST FOR PRODUCTION NO. 1:
13
            All documents and information relating JOHN DOE with a fake LinkedIn profile as an
14
      employee of Wayne Farms LLC or Wayne Farms LLC USA, Phone text, WhatsApp or mobile
15
      number: +1(204) 813-6903 or +1 (323) 486-5804; Email patrickwaynefarms@consultant.com or
16
      patrickwaynefarms@outlook.com (see attached)
17
      RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
18
            In addition to its general objections, each of which is specifically incorporated herein by
19
      reference, LinkedIn objects to this request as vague and ambiguous with respect to the scope of the
20
      information sought and the manner or production, and in particular the terms “all documents and
21
      information” which may seek information protected by privacy rights and other protections. LinkedIn
22
      also objects to the Request to the extent it requests the production of documents beyond the possession,
23
      custody or control of LinkedIn. For example, LinkedIn does not have members’ social security
24
      numbers, telephone connection records, or MAC addresses. LinkedIn also objects to the Request to
25
      the extent that it seeks the content of communications and investigations. Production of records
26
      beyond basic subscriber information as defined at 18 U.S.C. § 2703(c)(2) without the consent of the
27
      LinkedIn member would exceed the disclosure permitted under the Stored Communications Act, 18
28
                                              RESPONSE TO SUBPOENA
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 1
      U.S.C. §§ 2702-03 (“SCA"). Under the SCA, LinkedIn is prohibited from disclosing the connections
 2
      or content of user communications or stored files, unless a specific statutory exception permits the
 3
      disclosure. 18 U.S.C. §§ 2702-2703. There is no general statutory exception that would allow
 4
      LinkedIn to produce contents in response to your Request. LinkedIn reserves the right to add
 5
      objections if necessary following any meet and confer.
 6
             Subject to, and without waiving these objections, LinkedIn will provide the following
 7
      information associated with the profile associated with each of the two email addresses identified as
 8
      well as the Patrick Gomez profile identified (Wisconsin, United States):
 9
      •        Email Addresses
10    •        Profile Snapshot
      •        Profile Information
11    •        Registration

12
      LinkedIn considers this information to be fully responsive to the Request and to have satisfied
13
      LinkedIn’s entire obligation in responding to the Subpoena.
14

15        DATED:   October __, 2020.                SKAGGS FAUCETTE LLP

16
                                                    By:
17                                                                    JASON M. SKAGGS

18                                                  Attorneys for LINKEDIN CORPORATION.

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                                             RESPONSE TO SUBPOENA
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                                                           LINKEDIN-WF-000001
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                                                           LINKEDIN-WF-000002
    Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 14 of 28 PageID #:191

                                    Gomez_Registration.csv


Registered At     Registration Ip Subscription Types
6/16/20, 12:51 AM 45.82.254.20




                                                               LINKEDIN-WF-000003
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                                                     Gomez_Logins.csv


Login Date                   IP Address    User Agent                                                             Login Type
Tue Jun 23 02:28:34 UTC 2020 66.115.157.13 LIAuthLibrary:36.0.* com.linkedin.LinkedIn:9.15.5204.4 iPhone:12.4.5   Login
Wed Jul 22 08:29:51 UTC 2020 156.146.46.65 LIAuthLibrary:36.0.* com.linkedin.LinkedIn:9.15.5204.4 iPhone:12.4.5   Login




                                                                                          LINKEDIN-WF-000004
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                               Gomez_Email Addresses.csv


Email Address                       Confirmed Primary Updated On
godsonnguyen101@gmail.com           Yes       Yes     6/16/20, 12:51 AM
butcherspride.frozenfoods@gmail.com No        No      6/22/20, 7:27 PM




                                                                LINKEDIN-WF-000005
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                                                                      Gomez_Profile csv




                       Maiden                                                                                      Geo          Twitter              Instant
First Name Last Name   Name     Address   Birth Date   Headline    Summary                 Industry     Zip Code   Location     Handles   Websites   Messengers


                                                                  We are leading role
                                                                  model in food production
                                                                  and we export
                                                                  nationwide, our major
                                                                  products includes Frozen
                                                                  Foods such as Chicken
                                                       Export     Paw,Chicken Feet,Chicken
                                                       Manager at MJW etc.....                                     Wisconsin,
                                                       Wayne      patrickwaynefarms@con Food                       United
Patrick    Gomez                                       Farms      sultant com              Production              States




                                                                                                                    LINKEDIN-WF-000006
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                                                           LINKEDIN-WF-000007
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                                                           LINKEDIN-WF-000008
    Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 20 of 28 PageID #:197

                                   Lincon_Registration.csv


Registered At    Registration Ip Subscription Types
8/31/20, 6:28 AM 197.242.101.205




                                                               LINKEDIN-WF-000009
      Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 21 of 28 PageID #:198
                                                         Lincon_Logins.csv



Login Date                   IP Address   User Agent                                                                    Login Type
Mon Aug 31 16:05:13 UTC 2020 209.95.50.60 Mozilla/5.0 (iPhone; CPU iPhone OS 12_4_5 like Mac OS X) AppleWebKit/605.1.15 Login
                                          (KHTML, like Gecko) Version/12.1.2 Mobile/15E148 Safari/604.1




                                                                                               LINKEDIN-WF-000010
    Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 22 of 28 PageID #:199

                               Lincon_Email Addresses.csv


Email Address                 Confirmed Primary Updated On
patrickwaynefarms@outlook.com Yes       Yes     8/31/20, 6:30 AM




                                                               LINKEDIN-WF-000011
         Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 23 of 28 PageID #:200
                                                                  Lincon_Profile.csv




                       Maiden                                                                            Geo          Twitter              Instant
First Name Last Name   Name     Address   Birth Date   Headline      Summary     Industry     Zip Code   Location     Handles   Websites   Messengers
                                                                                                         Covington,
                                                       Salesperson                                       Georgia,
                                                       at Wayne                  Food                    United
Bright     Lincon                                      Farms                     Production        30018 States




                                                                                                              LINKEDIN-WF-000012
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                                                           LINKEDIN-WF-000013
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                                    Slessor_Registration.csv


Registered At   Registration Ip Subscription Types
9/2/20, 5:05 AM 209.95.56.53




                                                               LINKEDIN-WF-000014
      Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 26 of 28 PageID #:203
                                                Slessor_Logins.csv


Login Date                    IP Address      User Agent                                               Login Type

                                            Mozilla/5.0 (iPhone; CPU iPhone OS 12_4_5 like Mac OS X)
                                            AppleWebKit/605.1.15 (KHTML, like Gecko) Version/12.1.2
Wed Sep 02 13:44:54 UTC 2020 212.102.59.129 Mobile/15E148 Safari/604.1                                 Login




                                                                                  LINKEDIN-WF-000015
    Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 27 of 28 PageID #:204

                               Slessor_Email Addresses.csv


Email Address                    Confirmed Primary Updated On
patrickwaynefarms@consultant.com Yes       Yes     9/2/20, 5:07 AM




                                                               LINKEDIN-WF-000016
          Case: 1:20-cv-05191 Document #: 19-1 Filed: 10/12/20 Page 28 of 28 PageID #:205
                                                                    Slessor_Profile.csv




                         Maiden                                                                                            Twitter              Instant
First Name   Last Name   Name     Address   Birth Date   Headline       Summary      Industry     Zip Code    Geo Location Handles   Websites   Messengers
                                                                                                              Salt Lake
                                                         Sales                                                City, Utah,
                                                         Manager at                  Telecommun               United
Tristan      Slessor                                     Best Buy Inc                ications           84101 States




                                                                                                                    LINKEDIN-WF-000017
